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         EXHIBIT “A”
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                                                             1.800.207.7160
                                                             Info@JNDLA.com
                                                             www.JNDLA.com




With over 70 years of collective experience in law and
administration, it’s no surprise that JND’s seasoned executive
management team has built the fastest-growing legal
administration firm in the industry. When you work with us,
your case receives the personal attention and expertise of our
principals –Jen Keough (J), Neil Zola (N), and David Isaac (D).
JND is well-known throughout the legal industry for providing
the most responsive, trustworthy, and comprehensive legal
administrative service in the country. JND has already been
recognized by the New York Law Journal and the Legal Times
as the best administration firm in the country for 2018 and 2017.
JND was also recently named an approved vendor for the United
States Securities and Exchange Commission (SEC) and the
Federal Trade Commission (FTC).
Where other firms come up short, clients who want the most
dedicated, technically agile team turn to JND for innovative,
ambitious strategies with proven results.
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                                  JND and its prinicpals have overseen some of the
                                  JND and its prinicpals have overseen some of the
                                  most
                                  most complex
                                        complex class
                                                  class action
                                                         action,and mass
                                                                 mass  tort,tort
                                                                              andcases in our
                                                                                   corporate
                                  country’s history.
                                  restructuring cases in our country’s history.

                                  No other company in the legal    legal industry understands
                                                                                      understands
                                  more about
                                          aboutclient
                                                 clientdelivery. NoNo
                                                          delivery.   oneoneelse else
                                                                                  has proven   their
                                                                                       has proven
                                  ability  to handle  large, intricate  cases   like JND.
                                  their ability to handle large, intricate cases like JND. And   no
                                  otherno
                                  And    company    excels at the
                                            other company          range
                                                               excels  at of
                                                                           theservices
                                                                                range ofJND   offers.
                                                                                           services
                                  JND offers.
                                          CLASS ACTION ADMINISTRATION
                                          Comprehensive administrative resources through
                                          pre-settlement
                                         CLASS     ACTION    consultation,
                                                                ADMINISTRATION  complete notice
                                          services, claims processing
                                  	Comprehensive                        and validation,
                                                             administrative                scalable
                                                                               resources through
                                          call center capabilities,
                                         pre-settlement                state-of-the-art
                                                             consultation,      complete website
                                                                                             notice
                                          design, and an array of distribution services.
                                         services, claims processing and validation, scalable
                                         call
                                          MASS center
                                                  TORT  capabilities, state-of-the-art website
                                         design, and an
                                          All aspects     arrayintake,
                                                       of case  of distribution
                                                                         includingservices.
                                                                                      Plaintiff Fact
                                   Sheet preparation, retention, medical record
                                   MASS    TORT
                                   retrieval,       & LIEN
                                              creating       RESOLUTION
                                                        chronologies, evaluating and
                                   summarizing
                                  	
                                   Manage       clientmedical
                                                         intake, information,
                                                                    screening, lienand
                                   verification,   HIPAA   compliance   and  medical
                                   retention; medical record retrieval and review;
                                   monitoring
                                   Plaintiff     appointments.
                                              Fact  Sheet preparation including a
                                   unique online website offering; claims and
                                   eDISCOVERY
                                   settlement administration; lien resolution; and
                                   Leverage an extensive, flexible cloud-based
                                   disbursements.
                                   platform to provide targeted data analysis, logical,
                                    physical and mobile forensics, data recovery, email
                                    eDISCOVERY
                                    examination, and timeline generation among
                                  	Leverage
                                    many otheran     extensive, ﬂexible cloud-based
                                                 offerings.
                                    platform to provide targeted data analysis, logical,
                                    CORPORATE
                                    physical          RESTRUCTURING
                                              and mobile       forensics, data recovery,
                                    email examination, and oftimeline
                                    Support   and    navigation        the intricacies   of
                                                                                generation
                                    restructuring,
                                    among   many otherincluding
                                                          oﬀerings.pre-filing services,
                                    creditor communications and inquiries, noticing,
                                    claims processing and analysis, balloting and
                                    GOVERNMENT            SERVICES
                                    tabulations, and disbursements.
                                  	Assistance with all facets of any administration,
                                    including
                                    GOVERNMENT systematic    noticing, claims processing
                                                          SERVICES
                                    and  validation,
                                    Assistance  with contact
                                                       all facetsservices, state-of-the-art
                                                                   of any administration,
                                    includingdesign
                                    website    systematic
                                                       and noticing,    claims
                                                              distribution,  andprocessing
                                                                                   account
                                    and  validation,
                                    reconciliation.   contact    services, state-of-the-art
                                    website design and distribution, and account
                                    reconciliation.
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                                     JND delivers the most reliable and comprehensive legal
                                     administrative resources and services available to our clients. Our
                                     team has handled some of the most complex class action settlements
                                     in the country’s history.

                                           PRE-SETTLEMENT CONSULTING
                                           We begin by consulting with clients on how to develop
                                           allocation methodologies and design efficient, economical
                                           roadmaps for settlement administration while providing
                                           preliminary hearing support. Our team works with the parties
                                           to compile the class list, or maintain a role as independent
                                           auditor of an existing class list to verify completeness.

                                           NOTICE PROGRAM
                                           Effectively notifying class members is key to the approval of
                                           your settlement. We advise our clients on effective notice
                                           best practices and are experienced in preparing class lists
                                           from various sources. Management of the entire CAFA
                                           Notice process for Defendants is handled by our team with
                                           our proprietary database of officials who need to be notified.
                                           Our notice and claim form mailing services utilize creative
                                           options to maximize effectiveness and reduce costs, while
                                           our advertising team comprises experts handling all media


Class Action
                                           publication needs while obtaining the best rates.

                                           CLAIMS PROCESSING
                                           Our professional staff is trained to process even the most
                                           complex claims with efficiency and accuracy and we are
                                           readily available to draft, or assist in drafting, claim forms
                                           to ensure class comprehension and complete claim form
                                           submission. Proprietary databases efficiently capture claim
                                           form data as well as accurate and flexible reporting; and with
                                           our proprietary online claim submission site, we can provide
                                           secure submission and reduce overall complexity. Knowing
                                           each case is different, we offer customized reporting to
                                           provide a variety of perspectives on the data that our clients
                                           may have not considered.

                                           BENEFIT DISBURSEMENT
                                           JND manages all aspects of the settlement fund, including opening
                                           disbursement accounts, reconciling accounts, establishing a
                                           Qualified Settlement Fund (QSF), filing tax returns, and serving
                                           as Escrow Agent. Even the most complex benefit allocation
                                           methodology is implemented and applied to individual class
                                           members. In addition, we manage tax reporting for settlement
                                           disbursements, including the issuance of tax statements, such
                                           as W-2s and 1099s, to class members. We also calculate the
                                           payroll withholding and employer taxes that are often required in
                                           employment class action settlements. Our team partners with a
                                           respected CPA firm to prepare settlement fund tax returns.
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Prominent Case History
JND is routinely called upon to handle the largest and
most complex class action administrations. Some of the
matters JND and its Founders have worked on over the
years include the following:

•   Allagas v. BP Solar Int’l, Inc.
•   Auction Houses Antitrust Litigation
•   BP Deepwater Horizon Settlement
•   BP Solar International, Inc. Settlement
•   Cecil v. BP America Production Company
•   Chieftain-Marathon Oil Company Settlement
•   City of Long Beach Telephone Tax Settlement
•   Condé Nast Privacy Litigation
•   County of Los Angeles Telephone Tax Settlement
•   Equifax Data Breach Settlement
•   Expedia Hotel Taxes & Fees Litigation
•   Freedom Financial Network Restitution Program
•   Greyhound Lines, Inc. ADA Settlement
•
•
    Hearst Communications, Inc. Privacy Litigation
    Broiler Chicken Antitrust Litigation                 Class Action
•   J.P. Morgan Stable Value Fund ERISA Litigation
•   LIBOR-Based Financial Instruments
    Antitrust Litigation
•   Intuit Data Breach Litigation
•   J. Crew Factory Store Pricing Litigation
•   Langan v. Johnson & Johnson Consumer
    Companies, Inc.
•   MyFord Touch Class Action Settlement
•   Navistar MaxxForce Engine Settlement
•   Red Bull False Advertising Litigation
•   Robert Briseno et al. v. Conagra Foods, Inc.
•   TCF National Bank Restitution Program
•   TJX Companies False Pricing Settlement
•   Uber Technologies Employment
    Discrimination Settlement
•   USC Student Health Center Litigation
•   Visa/Mastercard Antitrust Litigation
•   Vitamix Blender Settlement
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Prominent Securities Cases
JND’s stand-alone securities group handles complex
settlement administrations involving common
stock, options, notes, derivatives and other complex
securities. Our securities team, located in New
York, is overseen by Co-Founder Neil Zola, with
over 25-years’ experience in securities class action
litigation and administration. Neil has played a direct
role in many of the largest securities settlements in


                                                                        Securities
our country’s history. Securities matters handled by
JND and its Founders include:
yy   Akorn Securities Litigation
yy
yy
     Akorn, Inc. Data Integrity Securities Litigation
     Amaya Securites Litigation
                                                                        Experience
yy   Babcock & Wilcox Ent., Inc. Securities Litigation
yy   Bankrate Securities Litigation
yy   Barclays Dark Pool Securities Litigation
yy   Citigroup Securities Litigation
yy   ComScore Securities Litigation
yy   Dole Food Company Securities Litigation
yy   Endo International Securities Litigation
yy   Endurance Securities Litigation
yy   Equifax Inc. Securities Litigation
yy   Fenix Parts Inc. Securities Litigation
yy   Fiat Chrysler Shareholder Litigation                 yy   PPG Industries Securities Litigation
yy   GoPro Shareholder Litigation                         yy   Precision Castparts Securities Litigation
yy   Halliburton EPJ Fund Securities Litigation           yy   Royal Ahold Securities and Erisa Litigation
yy   Higher One Holdings Securities Litigation            yy   Santander Securities Litigation
yy   Illumina, Inc. Securities Litigation                 yy   SFX Entertainment Securities Litigation
yy   IPO Securities Litigation                            yy   Stericycle Securities Litigation
yy   Lannett Company, Inc. Securities Litigation          yy   Terraform Power Securities Litigation
yy   Linkwell Corp. Securities Litigation                 yy   Tyco International LTD Securities Litigation
yy   Lion Biotechnologies Securities Litigation           yy   Ubiquiti Networks Securities Litigation
yy   LSB Industries Security Litigation                   yy   Vale Securities Litigation
yy   NantHealth, Inc. Securities Litigation               yy   Washington Mutual Securities Litigation
yy   Nantkwest Securities Litigation                      yy   Wells Fargo RMBS Trustee Litigation
yy   Nortel Networks Securities Litigation I & II         yy   WorldCom, Inc. Securities Litigation
yy   Opus Bank Securities Litigation                      yy   Yahoo! Securities Litigation
